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                   UNITED STATES DISTRICT COURT
                  MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                :

   v.                                   :    CRIMINAL NO. 3:CR-19-208

WILLIAM L. COURTRIGHT,                  :        (JUDGE MANNION)

         Defendant                      :



                               MEMORANDUM

       Presently before the court are the defendant William L. Courtright’s

(“Courtright”) objections, (Doc. 18, at 4-5), to the final Presentence

Investigation Report (“PSR”), (Doc. 17), prepared by the United States

Probation Office. The court, having conducted an evidentiary hearing and

being satisfied that the government has met its burden of proof, will

OVERRULE Courtright’s remaining objections to Paragraphs 46, 55, 56, and

58 of the PSR.


  I.      BACKGROUND

       The court set forth the background of this case in its prior May 13, 2020,

memorandum and need not repeat it herein. At issue here are Courtright’s

outstanding objections to Paragraphs 46, 55, 56, and 58, which the court

reserved ruling on until it could conduct an evidentiary hearing. As that
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memorandum noted, the outstanding objections relate to the correct

calculation and corresponding level of enhancement under §2C1.1(b)(2) of the

United States Sentencing Guidelines (“U.S.S.G.”).

         The court conducted a hearing on August 21, 2020, at which both the

government and the defense appeared and were permitted to present

witnesses and evidence. The government presented the testimony of three

witnesses and both sides submitted exhibits. Accordingly, the matter is now

ripe for review.


   II.     DISCUSSION

         The PSR provided for a sixteen-level enhancement under §2C1.1(b)(2)

and §2B1.1, having calculated that the benefit received in return for payment

was at least $3,020,266 as follows:

          46. Northeast Revenue Services [(“Northeast”)] had
              gross profits of $354,033 in 2015; $525,353 in 2016;
              $524,767 in 2017; $929,567 in 2018; and $636,546
              in 2019 (through June 30), for a total of $2,970,266.
              The City of Scranton received federal funds in excess
              of $10,000.

          55. The benefit received by Northeast Revenue Services
              in return for illegal payments to Courtright was a total
              of $2,970,266 in gross profits from contracts that
              existed solely because of the defendant’s corrupt
              conduct.


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          56. Additionally, Courtright received, directly or through
              intermediaries, cash payments totaling more than
              $50,000 from more than 10 businesspersons who
              sought to corruptly influence him.

          58. The total for guideline purposes is at least
              $3,020,266. Because this amount is more than
              $1,500,000, but not more than $3,500,000, a 16-level
              increase [USSG §2B1.1(b)(1)(I)] is applied.

(Doc. 17, at 13-14).

      The court previously ruled that the $50,000 value of payment figure1 was

inappropriately added to the $2,970,266 “benefit received” figure and that it is

the higher of these two figures that must be used for purposes of calculating

the enhancement under §2C1.1(b). Therefore, the question presently before

the court is whether the “benefit received” figure is indeed a higher figure and,

if so, whether that amount is between $1,500,000 and $3,500,000 such that a

sixteen-level enhancement pursuant to the table in §2B1.1(b) is appropriate.

      With respect to burden as it relates to facts to be relied on in a PSR, the

Third Circuit has stated the following:

              Due process does guarantee a convicted criminal
              defendant the right not to have his sentence based
              upon “materially false” information. To this extent, the
              federal rules require the court to hold a hearing to
              determine disputed issues of fact included in the
      1
       Courtright additionally objected to the $50,000 figure, which is
discussed below.
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            presentence report if it wishes to rely upon these
            facts in sentencing. The purpose of this hearing,
            though, is to ensure merely that the information relied
            upon is not materially false. Determining that
            information is not materially false does not require
            any type of heightened scrutiny. It is enough that the
            sentencing judge is convinced that the disputed fact,
            as alleged, is true. The long history of judicial
            sentencing and strong policy reasons, including
            judicial economy, persuade us, as they have the
            courts of appeals in the second, fourth, and eleventh
            circuits, that a defendant’s rights in sentencing are
            met by a preponderance of evidence standard. We
            therefore hold that a sentencing court considering an
            adjustment of the offense level need only base its
            determination on the preponderance of the evidence
            with which it is presented.

United States v. McDowell, 888 F.2d 285, 290-91 (3d Cir. 1989) (internal

citations omitted). “The sentencing court, though it need not reach a precise

figure as to loss [or benefit received], must make a ‘reasonable estimate’ . . .

that must be based on the ‘available information’ in the record.” United States

v. Tupone, 442 F.3d 145, 156 (3d Cir. 2006); see also U.S.S.G. §2B1.1, cmt.

n.3(C). Thus, although the figure need only be established by a

preponderance of the evidence, “the preponderance standard is not toothless.

It is the district court’s duty to ensure that the Government carries this burden

by presenting reliable and specific evidence.” United States v. Roman, 121

F.3d 136, 141 (3d Cir. 1997) (internal quotation marks omitted).


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      The comment to §2C1.1 defines “the benefit received or to be received”

as “the net value of such benefit.” U.S.S.G. §2C1.1, cmt. n.3. With respect to

net value, the background in the comment states,

            In determining the net value of the benefit received
            or to be received, the value of the bribe is not
            deducted from the gross value of such benefit; the
            harm is the same regardless of value of the bribe
            paid to receive the benefit. In a case in which the
            value of the bribe exceeds the value of the benefit, or
            in which the value of the benefit cannot be
            determined, the value of the bribe is used because it
            is likely that the payer of such a bribe expected
            something in return that would be worth more than
            the value of the bribe. Moreover, for deterrence
            purposes, the punishment should be commensurate
            with the gain to the payer or the recipient of the bribe,
            whichever is greater.

Id.

      In United States v. Lianidis, the Third Circuit, observing that the burden

is upon the government to show the benefit received, held that direct costs,

but not indirect costs, should be deducted when calculating net value under

this section of the Guidelines. 599 F.3d 273, 281 (3d.Cir.2010).

      Thus, here, the court must consider whether the government has shown,

by a preponderance of the evidence, that the benefit received by Northeast

was between $1,500,000 and $3,500,000. In this case, the court finds that the

government has done so.
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      At the hearing, the government presented the testimony of Kevin Foley

(“Foley”), a certified public accountant and shareholder of the accounting firm

Kronick, Kalada, Berdy and Co. (“KKB”). Foley testified that Northeast has

been a client of KKB’s since 2015. Foley testified that he was asked to compile

data from 2015 through June 30, 2019, on Northeast’s total income and direct

expenses related to its two contracts with the City of Scranton for collection of

delinquent taxes and delinquent refuse bills. The document Foley prepared

with this information was introduced as government’s Exhibit 6. Foley testified

that he cross-referenced the data that he complied in Exhibit 6 with a software

program called Quickbooks, which Northeast used to maintain its accounting

records, in order to ensure that “every line item on [Exhibit 6] agreed to the

end of the year numbers on the computer-generated Quickbooks balance

sheet[/]profit and loss statement.” (Notes of August 21, 2020 Hearing

Testimony (“N.T.”) at 58.)

      Exhibit 6 indicates that, for the period of time from January 1, 2015,

through June 30, 2019, Northeast earned $4,607,133 in total income from its

two contracts with the City of Scranton and expended $1,623,117 in direct




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costs.2 Broken down by year, the total income was $368,166 for 2015,

$525,353 for 2016, $522,795 for 2017, $931,134 for 2018, and $636,548 for

2019.3 Thus, deducting the direct costs from the total income, Northeast’s net

profit, or the benefit it received, from its two contracts with the City of Scranton

for that period of time was $2,983,997.4

      The court, having carefully reviewed the testimony and exhibits, finds

that the government has proved by a preponderance of the evidence that the

amount of the benefit received by Northeast was $2,983,997 and, because


      2
        During the hearing, the government explained that it used January 1,
2015, as the starting date due to the fact that it would have taken until
approximately July 2014 for the City to withdraw from the otherwise
automatically-renewing contract with Northeast and, for purposes of a more
straightforward calculation, it chose to begin the calculation at the start of the
following year. (N.T. at 102).
      3
       Foley noted that the direct costs, which included expenses such as
corporate taxes, licenses and permit fees, and internet, IRA, parking, and
software expenses, related only to Northeast’s Scranton office. (N.T. at 53).
Additionally, Foley stated that, at certain points, upon KKB’s advice, Northeast
changed their methodology in categorizing certain expenses. For example,
while Northeast initially included health insurance with its other insurance
expenses in 2015, in subsequent years, it broke out health insurance
expenses and listed those separately. (N.T. at 54).
      4
        The court notes that the income figures set forth in Paragraph 46 of
the PSR differ slightly from those in Exhibit 6. Because the court finds that
the government has demonstrated the accuracy of the amounts listed in
Exhibit 6, it will adopt and utilize those figures for purposes of calculating the
amount of the benefit received by Northeast.
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this amount is between $1,500,000 and $3,500,000, the sixteen-level

enhancement under §2C1.1(b)(2) is appropriate. Accordingly, the objections

to Paragraphs 46, 55, and 58 are OVERRULED.

          As noted, Courtright additionally objected to the $50,000 amount of

payment received figure; however, based upon the testimony and exhibits

received at the hearing, including the testimony of FBI Special Agent Joseph

Noone, the court finds that the government has also demonstrated the

accuracy of this figure by a preponderance of the evidence. In any event,

however, this figure is immaterial for sentencing guideline purposes as it is

less than the amount of the benefit received figure. Accordingly, the objection

to Paragraph 56 is likewise OVERRULED.5


   III.        CONCLUSION

          For the reasons set forth above, Courtright’s objections, (Doc. 18, at 4-

5), to Paragraphs 46, 55, 56, and 58 of the PSR, (Doc. 17), are OVERRULED.

The PSR correctly calculates an offense level of 40, a criminal history category


      Even were the court to use the likely “loss” to the city, calculated based
          5

upon the difference between what the city paid to Northeast and what the
evidence at the hearing shows it would have paid to the Lackawanna County
Tax Bureau, the amount would still be between the $1,500,000 and
$3,500,000 guideline range in §2B1.1(b)(1)(l) (i.e. approximately $1,987,342).


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of I, and a suggested sentencing guideline range of 292-365 months’

imprisonment.

        An appropriate order follows.

                                           s/ Malachy E. Mannion
                                           MALACHY E. MANNION
                                           United States District Judge

DATE: September 4, 2020
19-208-02




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